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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 
  

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BELLEAU TECHNOLOG:ES, LLC, i 392

Plaintifi’,

v.
18 Civ. 06319 (DLC)

JOEALLENPRO LrMITED, a foreign corporation;
and JOE ALLEN, as an individuai,

Defendants.
_________________________________________________________ X

.HlRQEQSF.Ij'ORDER GRANTING PLAINTIFF’S

MOTION FOR A PRELIMINARY INJUNCTION

Upon consideration of Piaintiff Belleau Technologies, LLC’s (“M_u”) Motion
for a Prelirninary Injunction and supporting documents [ECF Nos. 016-019], and being fully
advised, this Court hereby GRANTS Belleau’s Motion for a Preliminary lnjunction.

Belleau has satisfied all of the requirements for preliminary injunctive relief In
paiticular, Beileau has demonstrated that it is likely to succeed on the merits of its patent
infringement claim. Plaintiff has further demonstrated that, Without injunctive reliefl it will
suffer substantial, irreparable harm and have no adequate remedy at laW. Additionally, the
balance of hardships between the parties favors Belleau. Finally, the public interest favors the
issuance of an injunction as there is a compelling, intrinsic public interest in protecting rights
secured by patents. Accordingly, it is hereby ORDERED that, pending a trial on the merits or
further order of this Court, Defendants Joe Allen and JoeAlienPro Limited, their employees,
agents, subsidiaries, affiliates, parents, successorsJ assigns, oft`lcers, servants, attorneys, and any

other person in active concert or participation With them are:

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l. Enjoined from any conduct that infringes, directly or indirectly, U.S.
Patent No. 9,953,646, including making, selling, distributing, marketing, testing, importing,
offering to sell, or otherwise using a software product called “AutoPrompter” - or any other éMb
software application infringing U.S. Patent No. 9,953,646 ~ within the United States;

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2. K_Ordered to immediatel-Ldestroy any co’pies of the software product calle

    
 
  
 

 

“AutoProlnpter"’ - or any other software application infringing U.S. Patent No. 9,953,646 a in

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their possession, custody, or control;

 

3. Ordered to immediately take down and/or destroy any remaini
marketing for the software product called “AutoPrompter,” including, but not limited to,
down the autoprompter.com website, removing the AutoPrompter promotional video posted by
Joe Allen on YouTube available at https://Www.youtube.com/watch?v:beBYmewa,
removing all references to the software product called “AutoPrompter” on the joeallenpro.com
Website, deleting the @AutoPrompter twitter account; removing all references to the software
product called “AutoPrompter” from the @joeallenpro twitter account, including deletion of
retweets from others; and further destroying any hard copy and electronic marketing images used
(or images that could be used, including all back-ups) to promote the software product called
“AutoPrompter” in the App Store, on the internet, or elsewhere; and

4. Ordered to turn over to the Court any proceeds received as a result of the
sale of the software product called “AutoPrompter” f or any other software application
infringing U.S. Patent No. 9,953,646.

This Court has exercised its discretion to determine that no bond shall be required

and that this Order shall be effective immediately

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Dated: July ___, 2018

 

 

SO ORDERED:

 

 

Hon. Denise L. Cote
United States District Judge

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